Case 2:03-CV-02874-BBD-tmp Document 173 Filed 06/24/05 PagelofS Pa | 182

Fluz:) ev ___ _C_
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 95 JUN 2¢, AH gi 2;.
WESTERN DIVISION 71

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CL.E.F%K. U.S. DI':`"`:`. CT.
w.:). oF TN, maMPHls
LUTRICIA BARNETT BUCKLEY, as

Adrninistratrix of the Estate of DENVEY
BUCKLEY, for the use and benefit of
KATRINA and LATRICE BUCKLEY, as
Next of Kin and HeirS at law of DENVEY
BUCKLEY, deceased

Plaintiffs,

v. Civil Action No. 03-2874-DP
CITY OF MEMPHIS, THE CITY OF MEMPHIS
POLICE DIVISION, OFFICER PHILLIP PENNY,
OFFICER KURTIS SCHILK, OFFICER ROBERT
G. TEBBETTS, individually and in their
Representative Capacities as City of Memphis
Police Division Officers,

H_/\_/\_/\-_/\_/\_/\_/\-/\_/\_/\_/\_/\-J\./\_/\_/\_/WV

Defendants.

 

ORDER GRANTING DEFENDANT ClTY OF MEMPHIS’ MOTION F()R LEAVE 'I`O
FILE REPLY 'l`O PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR
PROTECTIVE ORDER TO PREVENT THE TAKING OF DEPOSITIONS OF
INDIVIDUALS WITH KNOWLEDGE CONCERNING PRIOR INCIDENTS OF IN-
CUSTODY DEATHS

 

lt appearing to the Court, Defendant City ofMemphis’ Motion for Leave to File Reply to Plaintiff’ s
Response to Defendant’ S Motion for Protective Order to Prevent the Taking of Depositions of Individuals

With Knowledge Concerning Prior Incidents of In-Custody Deaths is well taken, and is GRANTED.

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with Hu'le 58 and/or 79'\»;; .- inn Q §éU§ /7§

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Defendant City of Memphis shall have permission to file a reply to Plaintiff" s Response to
Defendant’s Motion for Protective Order to Prevent the Taking of Depositions of Individuals With

Knowledge Ccncerning Prior Incidents ofln-Custody Deaths by July 5, 2005, which the Clerk is instructed

M\

Judge

to file.

Date: ijka §.)_'?>'1 2»\!05`

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Notice of Distribution

This notice confirms a copy of the document docketed as number 173 in
case 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

